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multi-million dollar overpayments made by Plaintiffs and Class members. See {| 644-46, 677-
79; Plaintiffs’ Opp. at 32-38. Because, in this Circuit, there is no “reliance” requirement (even
when the predicate acts are mail and wire fraud), see id. at 33-35 (discussing Sebago, Inc. v.
Beazer East, Inc., 18 F. Supp. 2d 70 (D. Mass. 1998)), Plaintiffs’ allegations satisfy the RICO
“causation” tests established by the Supreme Court in Holmes v. Securities Investor Protection
Corp., 503 U.S. 258 (1992).

Defendants’ response to Plaintiffs’ opposition brief on standing issues is classically
diversionary. Plaintiffs proffered an extensive analysis of why their RICO claims satisfy the
“causation” tests laid down by the Supreme Court in Holmes, 503 U.S. at 273, including a
rebuttal of Defendants” “intervening causes” argument. See Plaintiffs’ Opp. at 35-38. In sum,
the first Holmes inquiry favors Plaintiffs because damages will not be difficult to prove.
Defendants determine the reimbursement base directly by setting the AWP, and Plaintiffs set
forth mathematical damage examples based on allegations in the AMCC, yet Defendants chose
to entirely ignore these examples in their reply. See Plaintiffs’ Opp. at 35-36. Turning to the
second Holmes inquiry, damages will not need to be apportioned among Plaintiffs and Class
members who have been harmed by the same injury, because the direct injuries here are uniquely
incurred by each Plaintiff and Class member. See id. at 36. Finally, considering the third
Holmes factor, no other party has been more directly injured, because no one else has suffered
the co-pay injury or the injuries suffered by the third-party payor Plaintiffs. See id. at 36-37.
Indeed, Defendants recognized in their own documents that the practice of AWP inflation would

be directly felt by the precise class on whose behalf the claims are asserted in this case:

Private insurers, out of pocket payors: these groups and perhaps
others, are likely to incur greater costs as a result of this pricing
strategy.
{| 395 (emphasis added). And this admission of direct harm identifies no intervening causes of

harm, but admits the existence of a direct link between AWP inflation and injury to the precise

class in this case.

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Defendants make no attempt to contradict Plaintiffs’ lengthy Ho/mes “causation”
analysis, merely stating in conclusory fashion that Plaintiffs’ theory is contrary to Holmes. See
Defs. Reply at 11-13. Defendants have failed to explain why Ho/mes is contrary, because they
are unable to effectively explain how the Holmes factors favor dismissal. Nor do Defendants
even attempt to explain away Defendant Glaxo’s written admission that “government,” “[p]rivate
insurers, out-of-pocket payers” and “others ... are likely to incur greater costs as a result of”
increasing “the AWP for Zofran in order to increase the amount of Medicaid reimbursement for
clinical oncology practices.” /d.

Ignoring appellate court decisions previously cited by Plaintiffs, see Plaintiffs’ Opp. at
33, Defendants argue that the civil RICO claims cannot succeed because “defendants made no
representations directly to [plaintiffs]” and class members, Defs. Reply at 12, even though the
AMCC “alleges that Plaintiffs and Class members are the targets of Defendants’ AWP Scheme.”
Plaintiffs’ Opp. at 32 (emphasis added) (citing AMCC, §3). This is a red herring, and
Defendants can only advance this argument by ignoring numerous circuit court decisions to the
contrary. See, e.g., Commercial Cleaning Servs., L.L.C. v. Colin Serv. Sys., Inc., 271) F.3d 374,
384 (2d Cir. 2001) (reversing dismissal of civil RICO claim on standing grounds where plaintiff
was injured by competitor’s illegal permitting of illegal aliens, thus permitting defendant to
underbid plaintiff) (cited in Plaintiffs’ Opp. at 33); Baisch v. Gallina, 2003 U.S. App. Lexis
20127, at *17 (2d Cir. Oct. 2, 2003) (stating that under RICO’s causation analysis, “the
reasonably foreseeable victims of a RICO violation are typically limited to the targets,
competitors and intended victims of the racketeering enterprise” (quoting Lerner v. Fleet Bank,
NA., 318 F.3d 113, 124 (2d Cir. 2003)). These courts do not require that the representations be
direct. And Defendants’ argument ignores the AMCC’s allegations that the Plaintiffs paid for
their drugs based on inflated AWP’s which “directly” caused injury. $f] 139-40.

Defendants also ignore the Supreme Court’s mandate that “RICO is to be read broadly.

This is the lesson not only of Congress’ self-consciously expansive language and overall

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approach, but also of its express admonition that RICO is to be liberally construed to effectuate
its remedial purposes.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 497-98 (1985) (citations
and quotation marks omitted).

Defendants’ attempt to distinguish Sebago likewise falls short. Defendants claim that
Sebago did not involve any intervening actors, Defs. Reply at 13, but this is false, as the current
owners of the building were not the original owners. 18 F. Supp. 2d at 83. And, notably,
Defendants do not take issue with Sebago’s holding that “it is for a jury [to] apply the law of
proximate causation and decide whether the plaintiffs were in the zone of foreseeable plaintiffs
and whether the defendants’ actions were a substantial factor in causing the plaintiffs’ harm.” Id.
at 85 (collecting cases).

To reiterate, because Defendants directly set the reimbursement base (the AWP), every
Plaintiff and Class member is directly harmed. [| 3, 139-40. It is immaterial that Defendants
make the AWP misrepresentation to third-party publishers and not to Plaintiffs, that the
prescribing doctor and not the patient submits claims for reimbursement, that Congress chose to
base reimbursements on AWP instead of some other formula, and that PBMs, not the
Defendants, contract with the health plans. None of these events detract from the direct injury
inflicted upon Plaintiffs and the Class by Defendants’ direct AWP reporting. The Court should
reject Defendants’ standing/causation challenge.

Cc. Plaintiffs State A Claim For Civil Conspiracy

In their reply, Defendants do not contest that Massachusetts law defining a claim for a
concerted action conspiracy governs Plaintiffs’ claim. Instead, Defendants focus their attack on
purported Rule 9(b) deficiencies in the AMCC. But the AMCC sets forth the circumstances of
the conspiracy. For instance, not only does the AMCC detail the allegations of each Defendant’s
inflated AWPs, it describes how, as fiscal intermediaries between Defendants and health plans
and their participants, PBMs: (i) use inflated AWPs set by Defendants as the basis for

renmbursement; (ii) pocket the spread or differential between the Pharmacy Reimbursement and

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the Health Plan Payments; and (iii) are encouraged to place on their formularies the drugs with
the most inflated AWPs. See, e.g., |] 168-76. These allegations are sufficient to apprise
Defendants of “the circumstances of the fraud,” and Plaintiffs are “not required to plead all of the
evidence or facts supporting it.” United States ex rel. Franklin v. Parke-Davis, 147 F. Supp. 2d
39, 46-47 (D. Mass. 2001).

Nonetheless, in an attempt to circumvent Parke-Davis, Defendants cite to Doyle v.
Hasbro, Inc., 103 F.3d 186 (1st Cir. 1996). Doyle, however, demonstrates that Plaintiffs have, in

fact, satisfied the pleading requirements. Dismissing a fraud claim, the Doyle court noted that:

The complaint simply states that the defendants ... worked closely
together and were aware of the others’ conduct. These defendants
conspired to use H.P. Leasing for the benefit of Hasbro and their
own personal financial gain. It is not certain what the specifics of
the conspiracy entailed or how exactly defendants Thibideau [sic]
and Hassenfeld benefited from that conspiracy.

fd. at 194. Defendants here can hardly claim that the Doyle complaint is analogous to Plaintiffs’
AMCC. Here, unlike in Doyle, Plaintiffs allege the mechanisms of the conspiracy, the inflated
AWPs around which the conspiracy was built and how both the PBMs and Defendants benefited
from the conspiracy.

Similarly, Defendants’ reliance on Aetna Cas. Sur. Co. v. P&B Autobody, 43 F.3d 1546,
1564 (st Cir. 1996), and Herring v. Vadala, 670 F. Supp. 1082, 1087 (D. Mass. 1987), is
misplaced, In Aetna, the First Circuit affirmed the district court’s entry of judgment against
defendants, holding that the evidence supported the jury’s liability finding under RICO and civil
conspiracy counts. Thus, and contrary to Defendants’ inference, Aetna stands for the proposition
that Plaintiffs can recover for civil conspiracy, in addition to their remaining claims.
Furthermore, the First Circuit in Aetna made clear that defendants will be held liable where there
is “first, a common design or an agreement, although not necessarily express, between two or
more persons to do a wrongful act and, second, proof of some tortious act in furtherance of the

agreement.” Aetna, 43 F.3d at 1564. Plaintiffs allege both prongs here.

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Defendants also claim that the fact each conspiracy operated in an identical fashion
mandates dismissal. Defs. Reply at 13. But Defendants are wrong. As the AMCC makes clear,
the industry has set itself up to operate in a common fashion whereby each manufacturer
defendant transmits phony AWPs, which are then reported by the co-conspirator publishers, and
each of the four major PBM co-conspirators are provided incentives for marketing the spread.
The fact that the manufacturers operate on parallel and similar tracks with respect to each
Defendant-publisher or Defendant-PBM co-conspirator, does not for a second negate the
existence of each conspiracy. For example, AstraZeneca has admitted that it provided an AWP
spread to one PBM in order to obtain its business and that the cost would be passed onto the
patient or third-party payor. {| 236. The fact that the scheme worked in the same fashion with
other Defendants, does not defeat this claim. Nor does the fact that there are many such
conspiracies.

Nor does Herring support Defendants’ position. In Herring, the court dismissed the
fraud claims pursuant to Rule 9(b) because the plaintiff was, inter alia, “intimately involved” in
all the transactions about which he complained. In contrast, Plaintiffs here are not involved in
the manipulation of AWPs by Defendants and the deal-making between Defendants and the
PBMs that resulted in the PBMs’ use of inflated AWPs as reimbursement benchmarks in
exchange for garnering spreads at the expense of Plaintiffs and the Class.

Finally, Defendants argue that Massachusetts law does not support a conspiracy action
when the unlawful conduct leads to additional claims. Defs. Reply at 14. This argument is
directly contrary to Queeno v. Cote, 1999 Mass. Super. Lexis 506 (Dec. 30, 1999), in which the
court held that “a fraud, if proven, may be the basis for several forms of relief by an aggrieved
person.” /d., at *9. Defendants’ attempt to distinguish Queeno fails. They argue that Oueeno did
not sustain separate causes of action, but required that the fraud allegations be read with the civil
conspiracy charge. See Defs. Reply at 15.12. But Defendants’ recital of the Queeno holding is

incomplete. While the court stated that the fraud count had to be read with the civil conspiracy

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count in order to show that the combination was for unlawful means, id. at *8, at no time did the
Queeno court reach the conclusion that separate causes of action flowing from the same illegal
conduct could not be sustained.

The AMCC appropriately alleges a combination between each Defendant and a PBM for
the wrongful purpose of perpetuating a reimbursement system based on fraudulently-overstated
AWPs. 4] 168-76, 729. The details presented in these paragraphs belie the “conclusory”
allegations moniker advanced by Defendants. The civil conspiracy allegations comport with
Rule 9(b) and are consistent with civil conspiracy jurisprudence from this commonwealth.

Defendants’ effort to dismiss Count IX should be rejected.

D. Plaintiffs’ Consumer Fraud Claims Should Be Sustained

In their reply, Defendants attack Plaintiffs’ state law claims on three grounds. First,
Defendants again contend that the AMCC fails to plead causation because intervening third
parties such as PBMs and medical providers also contributed to the deception. See Defs.
Opening Br. at 29-30; Defs. Reply at 15. However, as Plaintiffs demonstrated in their
opposition, this argument is unavailing because the third parties merely did as they were directed
(to obtain Defendants’ incentives), and thus advanced — but did not break -- the foreseeable chain
of causation designed and intended by Defendants. See Plaintiffs’ Opp. at 44. Indeed, to find
otherwise would lead to the absurd result that even if Defendants admitted that they reported
fraudulently inflated AWPs (and they never have denied it, but instead essentially claim as a
defense that everyone “knew we did it”), they could never be held liable because of the
involvement of these same so-called intervening parties.

Defendants also errantly argue that Plaintiffs have “effectively concede[d]” that they
were not influenced by Defendants’ allegedly fraudulent conduct. Defs. Reply at 15-16. This is
untrue, and the argument seeks to impose a “back door” reliance requirement that does not exist.
As Plaintiffs have explained, the test for whether Defendants’ conduct is unfair or deceptive is

whether their practices have a tendency or capacity to deceive. See Plaintiffs’ Opp. at 45 n.28

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and the cases cited therein. In demonstrating that Defendants’ practices have the tendency or
capacity to deceive, Plaintiffs need not allege and prove that they were aware of the AWPs for
each drug prescribed for them. Indeed, a lack of knowledge regarding AWPs would only
strengthen Plaintiffs’ claim, as it facilitates the likelihood that Defendants’ deception would
succeed."

Furthermore, reliance is not an element of the cause of action under any of these state
consumer protection acts — including Pennsylvania’s “catch-all” UTPCPL § 201-2(v)(xxi),
which was recently amended to differentiate “deceptive” conduct from “fraudulent” conduct.

See Plaintiffs’ Opp. at 51 & n.3. And in their zeal to fabricate a reliance requirement under the
New York statute, Defendants overlook Blue Cross & Blue Shield of N.J., inc. v. Phillip Morris,
178 F, Supp. 2d 198 (E.D.N.Y. 2001), rev'd in part on other grounds, 2003 U.S. App. Lexis
19155 (2d Cir. Sept. 16, 2003), which held that the act eliminated the traditional requirements of
reliance and scienter. /d. at 231. Defendants attempt to distinguish Phillip Morris by stating that
it addresses the pleading requirements of General Business Law § 349, yet Plaintiffs bring their
claims under § 349.°

Moreover, even if Plaintiffs were required to expressly allege that they relied on
Defendants’ fraudulent AWPs, they have done so, particularly with respect to the third-party
payor Plaintiffs. See, e.g., §] 461 (“This same flow chart then shows that third party payors rely

on these industry compendia for prices.”); {{] 633(f), 730(g) (stating that Defendants made,

* To the extent that Defendants interpret Plaintiffs’ statement that “Plaintiffs did not decide to purchase drugs
based on prices listed in the Red Book” (see Plaintiffs’ Opp. at 45-46) as an admission that Plaintiffs did not
purchase drugs for which pricing was based on AWP, this is not the meaning of the sentence. The proper
interpretation of that phrase is that a patient’s purchase decision was not based on the reported A WPs; rather,
Plaintiffs’ point was that patients buy drugs that are prescribed by their physicians because they want to treat their
illness or condition — not because of an AWP reported by Red Book. Therefore, Plaintiffs have hardly admitted that
no deception regarding pricing has occurred.

° To be sure, Plaintiffs also bring their claims under New York Gen. Bus. Law § 350, but New York courts have
indicated that reliance may be presumed under § 350 where, like here, Plaintiffs had no way of knowing of the
nature and extent of the deceptive conduct. See Sabater v. Lead Indus. Ass ‘n, 183 Misc. 2d 759, 770, 704 N_Y.S.2d
800, 808 (N.Y. Sup. Ct. 2000) (suggesting that reliance may be presumed under § 350, except in the situation
“where plaintiffs had a reasonable opportunity to discover the facts about the transaction beforehand by using
ordinary intelligence”),

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“[w]ritten and oral communications with health insurers and patients, including Plaintiffs and
members of the Class, inducing payments for the drugs that were made in reliance on AWPs’);
| 639 (“In designing and implementing the AWP scheme, at all times the Defendant Drug
Manufacturers were cognizant of the fact that those in the distribution chain who are not part of
the industry rely on the integrity of the Defendant Drug Manufacturers in setting the AWPs, as
reported by the Publishers.”); 7 645, 678 (‘Plaintiffs and members of the Classes have made
inflated payments for AWPIDs based on and/or in reliance on reported and false AWPs.”); ] 688
(“Defendants willfully engaged in such practices knowing them to be deceptive and with the
intent that Plaintiffs and the Class would rely thereon.”); § 691 “As a direct and legal result of
Defendants’ misleading, deceptive, unfair, false and fraudulent trade practices, Plaintiffs and the
Class have sustained injuries.”’).

Lastly, Defendants continue to assert that Plaintiffs lack standing under the consumer
protection statutes, yet their reply arguments add nothing and certainly do not support dismissing
any state consumer claims based on standing issues. For example, Defendants cite Coastal
Physician Servs., Inc. v. Ortiz, 764 So.2d 7, 8 (Fla. 4th Dist. Ct. App. 1999) for the proposition
that non-Florida residents cannot bring claims under the Florida DUTPA. Defs. Reply at 16.
However, Ortiz was recently discredited by Millennium Comms. & Fulfillment, Inc. v. Office of
the AG, Dep't of Legal Affairs, 761 So.2d 1256, 1261-62 (Fla. Ct. App. 2000), which rejected
Ortiz “as it applies to the FDOUTPA” in light of (i) the express language of Section 501.202, and
(ii) the same appellate district’s subsequent decision in Renaissance Cruises, Inc. v. Glassman,
738 So. 2d 436 (Fla. 4th Dist. Ct. App. 1999), applying the FDUTPA “to both in-state and out-
of-state residents in a class action.” Millennium, 761 So.2d at 1261-62. Thus, the Millennium
court found, “it appears to us that the fourth district has receded, sub silentio, from its earlier
holding in Ortiz.” Id. at 1262.

Defendants’ arguments under Louisiana law fare no better. They argue that only

consumers and business competitors have standing under the Louisiana UTPA, because the Fifth

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Circuit and two Louisiana district courts have concluded similarly. Defs. Reply at 16 n.16.
However, Defendants ignore many Louisiana decisions repeatedly holding that business
consumers and competitors are not the only parties that have a private right of action under the
clear language of the Act. See, e.g., Capitol House Preservation Co. y. Perryman Consultants,
Inc., 725 S0.2d 523, 530 (La. App. Ct. 1998) (citing cases and stating “[i]f a plaintiff alleges
facts sufficient to classify himself as a member of the group provided a remedy by [the statute], it
is of no moment if plaintiff is not a consumer or a business competitor of defendant”).

Moreover, the Fifth Circuit’s narrow interpretation of standing under the Act has been called into
serious doubt by Louisiana federal district courts, which admittedly adhere to Fifth Circuit
precedent because, unlike the present Court, they are obligated to do so. See Hamilton v.
Business Partners, Inc., 938 F. Supp. 370, 372 (E.D. La. 1996) (providing lengthy discussion
because “the seminal Louisiana case upon which subsequent jurisprudence relied may well be
flawed”); 5-Star Premium Fin., Inc. v. Wood, 2000 WL 1532896, at *1 (E.D. La. Oct. 16, 2000)
(“In light of the expansive language offered by the Louisiana Court of Appeals in [Capitol
House], reconsideration of the Fifth Circuit position regarding LUPTA may be appropriate.”).
Because the Fifth Circuit’s precedent on the issue is not binding here, the Court may follow the
more logical reasoning of the Louisiana appellate courts.

Defendants’ interpretation of Washington law is also wrong. Defendants cite two
insurance cases, Transamerica Title Ins. Co. v. Johnson, 693 P.2d 697 (Wash. 1985), and Zank v.
State Farm Fire & Cas. Co., 715 P.2d 1133 (Wash. 1986), for the proposition that Plaintiffs do
not have standing under the Washington Act because they are not direct purchasers of the drugs.
Dets. Reply at 17 n.19. Defendants’ cases are inapposite because unlike in Johnson and Tank,
the end-payor Plaintiffs were directly harmed by Defendants’ conduct when they overpaid for
drugs as a result of the illegally inflated AWPs reported by Defendants. Indeed, Washington
courts do not even require that the injured party be the same party that purchased the goods or

services to have standing under Washington’s consumer protection statute. See, €£.,

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Westminster Lane Road Ass'n v, Canning, 1999 WL 355830, at *4 (Wash. App. Ct. June 3,
1999). And, in raising a similar argument under New Jersey law, Defendants conveniently
ignore Desiano v. Warner-Lambert Co., 326 F.3d 339 (2d Cir. 2003), which is most directly on
point, noting that insurers had long been able to recover from drug companies amounts overpaid
due to illegal or deceptive marketing practices. /d. at 349-50.

Defendants’ arguments against application of the state consumer protection laws to

Defendants’ deceptive conduct should be rejected.

E. Defendants’ Fraud Involving Multiple-Source Drugs Falls Squarely Within The
AWP Inflation Scheme

Defendants raise several meritless arguments in their continued defense of multiple-
source drug AWP inflation. The linchpin of their argument, in direct contradiction to the
AMCC’s allegations, is that AWP inflation does not matter — in other words, inflating AWPs
does not inflate reimbursements for multiple source drugs within Medicare Part B or in the
private payor context. As demonstrated in the AMCC, Plaintiffs’ opposition brief (see pages 52-
58) and again below, AWP inflation by generic manufacturers causes over-reimbursement within

Medicare Part B and in private insurance systems.

1. Generic Drug Reimbursement Fraud Occurs within Medicare Part B

Defendants continue to insist that Medicare Part B reimburses for multiple-source drugs
“at a flat rate” and that therefore no AWP inflation fraud can occur within Medicare. Defs.
Reply at 17-18.'° This is simply not true. As the AMCC explains, the regulatory regime
provides that “under Medicare Part B the AWP is equal to the less[e]r of the median AWP of all
of the generic forms of the drug or biological, or the lowest brand name product AWP.” § 184.
This is precisely what the regulation cited by Defendants provides. See 42 C.F.R. § 405.517(c)
(“For multiple-source drugs and biologicals, ... the average wholesale price is defined as the

lesser of the median average wholesale price for all sources of the generic forms of the drug or

'° Fhis common argument is repeated throughout the Defendants’ so-called “specific” memoranda. See, ¢.g.,
Abbott Section I-I], Baxter at 2; B, Braun at Section II], BMS at 1-2; Dey at Section II.

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biological or the lowest average wholesale price of the brand name forms of the drug or
biological.”). Nothing in this regulation invokes Defendants’ fictitious “flat rate.”

Furthermore, there can be no doubt that inflated AWPs for generic drugs cause inflated
Medicare drug reimbursements and inflated co-pays made by Medicare Part B participants. As
the AMCC explains, “‘an individual Defendant’s reported AWP for a multi-source drug raises the
median AWP at which the generic drug is reimbursed.” § 186. Thus, there is a direct link
alleged in the AMCC between raising a generic AWP and causing inflated reimbursements
within Medicare Part B.'! This is not just Plaintiffs’ theory; it is shared by the OIG, which found

in 1998:

There is evidence that high-priced generic drugs have a significant

financial impact on Medicare and Medicaid reimbursement. We

found that inclusion of higher-priced generic drugs in Medicare

payment calculations can raise allowances above the price of

brand-name drugs.
DHHS OIG, THE IMPACT OF HIGH-PRICED GENERIC DRUGS ON MEDICARE AND MEDICAID at 9
(July 1998) (hereinafter “IMPACT OF HIGH-PRICED GENERIC DRUGS ON MEDICARE”). The OIG
study specifically found that higher-priced generic drugs increased Medicare reimbursements
because the higher-priced generic drugs were included in the median calculation. /d. at ii.
Historically, “[w]hen the median generic policy was implemented, generic prices were normally
less than those of the brand-name product.” /d. “However,” the OIG observed, “what may have
originally been a cost-saving mechanism has, for certain categories of drugs, become a losing
proposition.” /d.'?

In addition to IMPACT OF HIGH-PRICED GENERIC DRUGS ON MEDICARE, many other OIG

and DHHS studies, cited throughout the AMCC and in Plaintiffs’ opposition brief, have

documented inflated AWPs for generic drugs within the Medicare Part B context. Defendant

'' Defendants’ arguments to the contrary are improper on a motion to dismiss.

"2 In November 1998, and based on the OIG report, DHHS amended 42 C.F.R. § 405.517 to base multiple-
source drug reimbursements on the lesser of (1) the median AWP for all generics or (ii) the lowest brand name AWP.
See 63 Fed. Reg. 58,814, at 58,849-50 (Nov. 2, 1998).

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Abbott, in particular, has been cited by DOJ for reporting inflated AWPs for its generic drugs
reimbursed by Medicare Part B. For 2000 alone, DOJ cited at least 81 instances where the
published AWPs for various dosages of 16 drugs manufactured by Abbott were substantially

higher than the actual prices listed by wholesalers:

Abbott’s 2001
Red Book DOJ Determined Percentage

Drug AWP Actual AWP Difference Spread
Acetylcysteine $35.87 $21.90 $13.97 64%
Acyclovir $1047.38 $349.05 $698.33 200%
Amikacin Sulfate $995.84 $125.00 $870.84 697%
Calcitriol (Calcijex) $1,390.66 $1079.00 $311.66 29%
Cimetidine Hydrochloride $214.34 $35.00 $179.34 512%
Clindarnycin Phosphate $340.52 $75.35 $265.17 352%
Dextrose $239.97 $3.91 $236.06 6,037%
Dextrose Sodium Chloride $304.38 $1.93 $302.45 15,671%
Diazepam $28.50 $2.03 $26.47 1,304%
Furosemide $74.52 $14.38 $60.14 418%
Gentamicin Sulfate $64.42 $.51 $63.91 12,531%
Heparin Lock Flush $38.30 $13.60 $24.70 182%
Metholprednisolone $34.08 $2.36 $31.78 1,382%
Sodium Succinate
Sodium Chloride $670,389 $3.22 $667.67 20,735%
Tobramycin Sulfate $150.52 $2.94 $147.58 5,020%
Vancomycin Hydrochloride $382.14 $4.98 $377.16 7,5TA%

See {| 208 (citing PM Rev. AB-00-86, “An Additional Source of Average Wholesale Price Data
In Pricing Drugs and Biologicals Covered by the Medicare Program,” Sept. 8, 2000).

And this argument ignores allegations that generic or multiple source manufacturers
did compete on an AWP basis. See, e.g., J§ 278-80 (where Baxter, after acknowledging the
existence of “deliberate manipulation of AWP” as a method to “increase product positioning,”
then “adjusted our AWPs to meet competitive levels”); | 291 (Bayer increasing AWP on generic
drugs to meet competition); $f] 318-20 (B. Braun, after acknowledging that the practice was
“scandalous, or worse, fraudulent,” then evaluated its AWPs against Baxter’s and Abbott’s, and
increased them to “make them equivalent.”). Thus, Defendants have admitted in their own
documents that they compete based upon AWP manipulation. It is therefore no wonder that

their replies ignore these allegations.

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Defendants’ arguments thus steadfastly ignore these controlling allegations and studies.
The Court should quickly reject Defendants’ “flat rate” myth and sustain the AWP Inflation

Scheme paradigm for multiple-source drugs reimbursed through Medicare Part B.

2. Multiple-Source Drug Manufacturers Over-Inflate AWPs to Push Product in
the Private Sector

Turning next to private sector reimbursement systems, Defendants boldly proclaim that
Plaintiffs “fail[] to explain reimbursement rules in the ‘private payor arena,’” because Plaintiffs
allege that reimbursement is merely “tied” to AWP. Defs. Reply at 19. This is a misstatement of
both the AMCC and Plaintiffs’ opposition brief.

The AMCC documents two reimbursement mechanisms for multiple-source drugs in the
private payor arena. Generic drug reimbursement can be determined “in the same manner [as]
for brand name drugs (i.e., a certain percentage ‘discount’ off of the AWP).” 4 181.
Alternatively, generic drug reimbursement can be determined based on maximum allowable cost
or “MAC” lists, which are pricing schedules based on the listed AWPs of competing generic
manufacturers. /d. PBMs frequently use MAC lists and calculate the MAC based on the average
of AWPs reported by generic manufacturers. 182. Thus, the AMCC clearly explains the
specific reimbursement rules that operate in the private payor arena — a far cry from the passing
reference portrayed by Defendants.

Defendants next claim that the mere existence of a “spread” does not alone explain how
competition based on AWP can exist for multiple source drugs. Def. Reply at 19-20." But
Plaintiffs do not merely rely on the fact that there are “spreads” on generic drugs, even though

the spreads are in many cases simply gargantuan.'* The AMCC also explains that generic

8 Tt is somewhat ironic that the generic manufacturing Defendants cry that alleging spreads is insufficient
where, elsewhere, afl Defendants contend that Plaintiffs must identify each drug and the specific spreads for those
digs in order to state a claim. Now that Plaintiffs have done so in the generic world where AWP inflation is most
rampant, Defendants want to raise the pleading bar ever so higher.

4 See, €.g., | 280 (41, 167%, 12,108%, 54,199%): 4311 (1,202%, 6,581%, 2.415%): Pf] 324-25 (601%, 660%,
1,063%, 1,260%); 343 (298%); 4 353 (488%); | 360 (277%, 230%, 234%); 4] 373 (885%, 528%, 970%), and so
forth.

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manufacturers compete on spreads, just like brand name manufacturers do. For instance, the

AMCC alleges that:

Generic drug makers are able to push market share for their

generic drugs by intentionally increasing the published AWP for a

generic drug with the intention to create a profit margin for others

in the distribution chain. That profit margin is taken advantage of

either directly (through reimbursement based upon the AWP for

some plans and in some channels) or indirectly on the AWP based

upon the establishment of a MAC tied to the AWP.
*| 183. Further commenting on the mechanisms employed by generic manufacturers to promote
their products through marketing spreads, the AMCC explains that “[e]ach Defendant generic
maker or distributor competes by inflating its AWP and thereby inflating the median AWP. The
natural and expected result of this ‘leap frogging’ of increasing AWPs is that multi-source drugs
have some of the highest spreads of any drugs, sometimes resulting in an AWP over 50,000%
over actual costs.” § 187.

Plaintiffs did not just divine the theory that generic manufacturers inflated their reported
AWPs to create spreads and push product. As the AMCC alleges, one industry expert describes
AWP inflation as “more pronounced with generic drugs,” explaining that “[m]any generic
companies have taken advantage of this use of AWP by substantially inflating their published
AWPs....” 4185. All of these allegations are completely ignored by Defendants.

And, perhaps, no one “makes the case” for the importance of creating and promoting
“spreads” on generic drugs better than does Defendant Dey, Inc. In a lawsuit recently brought by
Dey against two Publishers (First DataBank and Medi-Span) for purportedly publishing
independently-derived AWPs for Dey generics instead of those reported by Dey, Dey
acknowledged that private payors utilize AWP in their reimbursements for generic drugs.

{ 189(c) (citing | 13 of Dey Complaint). Moreover, Dey admitted that generic manufacturers are
“cognizant of, and are highly attentive to, AWPs as reported ... because of the direct

relationship between the level of reimbursement ... and the reported AWPs of these drugs.”

{| 189(e) (quoting { 38 of Dey Complaint) (emphasis added). A reasonable inference of the word

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“attentive to” in this context is that it refers to “competition.” And contrary to Defendants’
argument that the AWP Inflation Scheme makes no sense for generics manufacturers, Dey

admits the exact opposite and confesses that competition occurs:

Since reimbursement to Dey’s customers is, in Medicaid program
in many states and in and [sic] insurance programs, most
frequently based on the AWP as reported by the reporting services,
this arbitrary and capricious reduction by First DataBank and
Medi-Span in AWP would result in a drastic reduction in the
reimbursement to drug providers who choose to dispense Dey’s
product. Since there has not been a comparable reduction in the
AWP for Dey’s competitors, there would be no comparable
reduction in the reimbursement the purchasers of competitive
products receive.

Because reimbursement for Dey products would be significantly
reduced, but reimbursement for those competing products would
remain as they have been, Dey is prevented, by First DataBank’s
and Medi-Span’s arbitrary and caprictous acts, from effectively
competing in the marketplace.

In fact, within one day of learning that First DataBank and
Medi-Span had arbitrarily changed Dey’s AWP, Dey has already
been contacted by at least nine of its customers complaining
about the drastic changes and indicating that, because of those
changes, the customers would not be able to purchase Dey
products since they could not earn a reasonable profit from the
sale of such products.

Further, at least one customer has already indicated that he had
canceled all of his purchases presently on order from Dey and was,
instead, buying those products from Dey’s direct competitors.

.... These providers will cease to purchase and dispense Dey’s
drugs if the reimbursement for those drugs is a fraction of those
obtained from competing companies. Because purchasing
decisions are highly concentrated in this industry among
wholesalers and group purchasing organizations, this scenario is
playing out across the country and threatens to eliminate sales of

Dey’s products that are covered by Medicaid and insurance
reimbursement programs.

| 189(e) (quoting {J 50-54 of Dey Complaint) (emphasis added).
Dey is thus admitting that without the use of inflated AWPs, like those of its
competitors, it cannot compete; indeed, “within one day” of the truth being revealed that

AWPs were not as inflated as Dey was reporting, Dey was losing customers. Dey’s admissions

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utterly belie the assertions made by all generic manufacturers that there is no economic reason to
inflate AWPs on multiple source drugs.

Documents produced by other generic manufacturers establish that Dey is not the only
Defendant who admits the importance of creating and promoting spreads for generic drugs in
order to compete on reimbursements. For example, Abbott anticipated that the spread between
AWP and cost might be eliminated by legislative changes in 1997. Accordingly, Abbott looked
for ways to maximize the profit spread immediately. In one internal memorandum about a third

party’s pricing product, Abbott states:

One of GeriMed’s goals of obtaining maximum profitability for its
members presents an opportunity for our injectables. They think
there is about an 18 month window of opportunity to promote our
imjectables as more profitable for their members to use because of
the bigger spread between AWP and cost. Legislative changes in
reimbursement are expected to do away with this spread
advantage by mid 1997.

{205 (quoting document ABT AWP/MDL 015839) (Highly Confidential) (emphasis added)). In

a second memorandum about this same product, Abbott states:

The purpose of these programs was to “enhance revenue and
decrease cost.” *** These suggestions are made to save money
through lower contract pricing or increase revenue through better
spread between AWP and contract price.... The [distributor’s}
program identifies the lowest cost product and the best spread for
the particular state.

id. (quoting document ABT AWP/MDL 010407-09) (Highly Confidential) (emphasis added)).
While other generic manufacturers do not use Abbott’s precise “spread advantage”

phraseology, they leave no doubt about the importance of creating and promoting spreads to sell

more generic drugs. For example, an internal memorandum produced by Defendant B. Braun

states:

I evaluated each McGaw AWP against Baxter’s and Abbott’s and
individually determined which AWPs should be increased.... In
general, I raised the McGaw AWPs to make them equivalent to
Baxter.

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{| 320 (quoting document BBMDL 009658) (Highly Confidential). A second memorandum,
created in October of 1997, reveals that B. Braun subsequently performed an analysis to “assure
that McGaw AWPs are in line with Baxter/Abbott AWPs on competitive products.” An
October 17, 1997 memorandum reveals that the company increased 54 separate AWPs following
a review of 200 drugs to “make them equivalent to both Baxter and Abbott.” /d. (quoting
documents BBMDL 009763 and BBMDL 001891) (Highly Confidential).

Similarly, Defendant Fujisawa adjusted AWPs for its generic drugs to help its marketing

efforts, as evidenced by the following memorandum:

Many thanks to Rick and Bruce for adjusting the AWP on the five
gram Vanco. This should lead to more business. As I have
previously reported, some companies are still using AWP for
reimbursement purposes. Chartwell has been told to search for the
largest spread and order accordingly. | would have liked to see us
match Abbott’s AWP for our complete Vanco, and Cefazolin line.
I will settle for the five gram at $1 below Abbott but that means
that we still have to compete at the other end of the equation. For
example, if Abbott’s AWP is $163 and their contract is $30 and if
our AWP is $162 we will have to be at least $29 to have the same
spread. Follow?

4] 368 (quoting document FY-MDL 005668-69) (Confidential).

Immunex also recognized the benefits obtained from inflating AWPs for its leucovorin
and methotrexate generic drugs: “[d]ue to the ‘spread’ (difference between acquisition cost and
AWP), physicians have reaped substantial profits.” 427 (quoting document IAWP051 149-52)
(Highly Confidential).

Incredibly, Defendants do not even attempt to address any of these allegations. They
ignore the Dey suit allegations and the many other admissions chronicled above that directly
establish the link between AWP inflation for generic drugs and inflated drug reimbursements. If
“spreads” for generic drugs did not matter, Defendants would not have promoted the “spread
advantage” and written the documents cited in the AMCC and referenced above. Any

conclusion to the contrary would not only run counter to Plaintiffs’ controlling allegations, it

would also be illogical given these facts. The Court should reject Defendants’ bankrupt

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argument and sustain the AWP Inflation Scheme paradigm for multiple-source drugs reimbursed
by private payors.

F, In Their So-Called “Defendant-Specific Replies,” Defendants Fail To Present Any
Viable Arguments Supporting Dismissal Of Any Individual Defendant

In addition to their 20-page common brief, Defendants filed 60 pages of “individual”
reply memoranda. In order to avoid the 20-page limitation placed on the consolidated reply
memorandum, Defendants’ merged common issues into their Defendant-”specific” replies, as
they did in their original supporting memoranda. Enough is enough. By any measure of
fairness, the Court should disregard any arguments found in individual replies that appear to be
“common” to all Defendants as opposed to truly specific to the particular Defendant. To assist
the Court in making this determination on a Defendant-by-Defendant basis, in Exhibit A hereto
Plaintiffs identify the improper arguments that should be stricken or otherwise disregarded by the
Court.

It is not possible in the 40 pages allotted to Plaintiffs here to respond to both the common
memorandum and even the truly “Defendant-specific” arguments made in the 19 individual
memoranda. However, in the limited space remaining below, Plaintiffs rebut some of the
arguments contained in the individual replies. To the extent that Plaintiffs cannot respond to
each argument made, Plaintiffs’ “silence” on these matters — borne of tight space limitations and
Defendants’ patent abuse of their right to present individual arguments — should not be construed
as any concession. Accordingly, in addition to the remaining argument below, Plaintiffs refer

the Court to their previous opposition memoranda.

1. Generic/Multiple Source Drugs
All of the generic or multiple source manufacturers assert that the AWP Inflation Scheme
cannot occur in the generic market. These non-defendant-specific arguments have been

addressed above.

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2. 9(b) Is Satisfied
Several Defendants repeat their mantra that specification of the fraudulent AWP in
Appendix A does not comply with Rule 9(b). This argument was adequately addressed in

Plaintiffs’ Consolidated Opposition (6-10), and Defendants’ arguments add nothing new.

3. Where Plaintiffs Have Purchased at Least One Drug From a Defendant,
Standing Is Established for All Drugs

Various Defendants all claim that if Plaintiffs purchased some but not all drugs listed in
Appendix A, those drugs not purchased must be dismissed from the case. This issue was
addressed in detail in Plaintiffs’ Separate Opposition to Defendant-Specific Memoranda, under
the discussion of juridical linkage, pages 13-16. Essentially, Plaintiffs have alleged that each
Defendant manipulated the AWP for all of its drugs listed in Exhibit A of the AMCC in
essentially the same manner. Thus, it is appropriate to allow a Plaintiff who has been harmed by
a Defendant’s fraud for one drug to represent a class of people who have been harmed by that
Defendant’s AWP fraud for all of its drugs. Defendants claim that this juridical link is Improper,
but the Court has already ruled that this argument “will be decided at a later stage.” AWP, 263 F.
Supp. 2d at 193-94. And, Defendants cannot distinguish Weld v. Glaxo Wellcome, Inc., 434
Mass. 81, 91 (2001), where the Court found a juridical link to provide standing in similar
circumstances. Nor can Defendants distinguish Alves v. Harvard Pilgrim Health Care, Inc., 204
F. Supp. 2d 198, 205 (D. Mass. 2002), where the Court allowed a Plaintiff with a claim against
one ERISA plan to represent a class of plaintiffs who were in other health plans with different
sponsors. Defendants raise no new arguments on this subject in their individual Reply

Memoranda.

4. The Associations Are Not Proper Plaintiffs to this Litigation
Plaintiffs agree that an Association has no standing to bring claims against a Defendant
for which the Association does not allege a purchase of any drug from that Defendant by any of

the Association’s members.

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5. The Complaint Does Not Need to Identify Competitors

Abbott and TAP (which is 50 percent owned by Abbott) raise the identical argument that
the theories of the AMCC make no economic sense outside the Medicare Part B context. Both
Defendants now assert that Plaintiffs must identify competitors for all drugs in the AMCC
outside the Part B context and detail the nature of the competition. Abbott and TAP cite to no
authority requiring such a showing, much less requiring it at this preliminary stage of the
proceedings. Nothing in the Court’s May 13, 2003 Order requires the identification of
competitors for all drugs included in the AMCC, and to the extent it was raised earlier, which it

was not, it was rejected by the Court.

6. Boehringer’s Argument that the AMCC Violated Local Rule 15.1 is Silly
Boehringer argues that Plaintiffs’ inadvertent violation of Local Rule 15.1, which
requires 1() days’ notice to a party before filing an Amended Complaint, has harmed Boehringer

because Boehringer is “denied the opportunity to adequately prepare a defense ...” Plaintiffs
note that the AMCC was filed June 12, 2003. Since that time no discovery has been conducted
against Boehringer, and the only action involving Boehringer has been the filing of motions to
dismiss. It is impossible to imagine how Boehringer has been prejudiced, or would have acted
any differently, because it did not receive the additional 10 days notice contemplated by Local
Rule 15.1. Plaintiffs respectfully submit that Bochringer’s protest that it has been harmed by the
Plaintiffs’ failure to comply with Local Rule 15.1 falls into the category of arguments which this
Court has previously labeled as “detritus.”

As to Boehringer’s argument that it does not know which of the underlying constituent
actions it has been named a Defendant in, Plaintiffs suggest that this is yet another attempt to
create an issue where none exists. Boehringer’s concern is, at best, theoretical. If, at some point
in the future it is determined that the MDL proceedings are concluded and the constituent actions

should return to their home forums for trial, then any concerns Boehringer, or any other

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